         Case 8:16-ap-01114-ES Doc 10 Filed 08/17/16                                Entered 08/17/16 21:59:30                Desc
                             Imaged Certificate of Notice                           Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
Peters,
              Plaintiff                                                                           Adv. Proc. No. 16-01114-ES
Easter,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0973-8                  User: tduarteC                     Page 1 of 1                          Date Rcvd: Aug 15, 2016
                                      Form ID: pdf031                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 17, 2016.
dft            +Kent W Easter,   153 Baywood Dr,   Newport Beach, CA 92660-7130

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
pla               Bill Peters
pla               Kelli Peters
pla               Sydnie Peters
                                                                                                                    TOTALS: 3, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 17, 2016                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 15, 2016 at the address(es) listed below:
              Robert H Marcereau    on behalf of Plaintiff Kelli Peters , nlipowski@mncalaw.com
              Robert H Marcereau    on behalf of Plaintiff Sydnie Peters , nlipowski@mncalaw.com
              Robert H Marcereau    on behalf of Plaintiff Bill Peters , nlipowski@mncalaw.com
              United States Trustee (SA)    ustpregion16.sa.ecf@usdoj.gov
              Weneta M Kosmala (TR)    ecf.alert+Kosmala@titlexi.com,
               wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
                                                                                            TOTAL: 5
     Case 8:16-ap-01114-ES Doc 10 Filed 08/17/16                                         Entered 08/17/16 21:59:30                      Desc
                         Imaged Certificate of Notice                                    Page 2 of 3

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


 Robert Marcereau (SBN: 211534)                                                                          FILED & ENTERED
 MARCEREAU & NAZIF
 26000 Towne Centre Drive, Suite 230
 Foothill Ranch, California 92610                                                                                AUG 15 2016
 Tel: (949) 531-6500
 Fax: (949) 531-6501
 E-mail: rmarcereau@mncalaw.com                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY duarte     DEPUTY CLERK




                                                                                                CHANGES MADE BY COURT



      Debtor(s) appearing without attorney
 X    Attorney for: Movant, Kelli Peters

                                           UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA ±Santa Ana DIVISION

 In re:                                                                      CASE NO.: 8:16-bk-10223-ES
                                                                             CHAPTER: 7
 Kent Wycliffe Easter, dba Kent Easter Consulting, dba                       ADVERSARY NO: 8:16-01114-ES
 Law Offices of Kent W. Easter
                                                                                 STATUS CONFERENCE AND SCHEDULING
                                                              Debtor(s)
                                                                                  ORDER PURSUANT TO LBR 7016-1(a)(4)

                                                                             DATE: July 21, 2016
                                                                             TIME: 9:30 a.m.
 Kelli Peters, Bill Peters and Sydnie Peters                                 COURTROOM: 5A
                                                                             ADDRESS: 411 W. Fourth Street
                                                              Plaintiff(s)               Santa Ana, CA 92701
                                    vs.




 Kent W. Easter

                                                          Defendant(s)

1.   A status conference took place on the date and time indicated above.
2.   Parties and counsel were present as reflected in the court record.
3.   This matter is disposed of as follows:
     a. X     Continued to the following date for a further status conference:                   (date) 11/10/2016          (time) 2:00 p.m.
     b.       A joint status report PXVWEHILOHGDQGVHUYHGLQFOXGLQJDMXGJH¶VFRS\E\(date):
     c.       The last day to join other parties and to amend pleadings is (specify date):
          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2014                                                           Page 1                              F 7016-1.2.ORDER.STATUS.CONF
      Case 8:16-ap-01114-ES Doc 10 Filed 08/17/16                                         Entered 08/17/16 21:59:30                      Desc
                          Imaged Certificate of Notice                                    Page 3 of 3
      d.       The last day for pre-trial motions WREHILOHGDQGVHUYHGLQFOXGLQJDMXGJH¶VFRS\is (date):
      e.       The last date for pre-trial motions to be heard is (date):
      f.       The last day for discovery to be completed, including receiving responses to discovery requests, is
               (date):
      g.       A       pre-trial stipulation or        pre-trial order must be filed and lodged by (date)                              (time)
                   No pre-trial stipulation or pre-trial order is required
      h.       A pre-trial conference is set for (date)                            (time)
                   No pre-trial conference is required
      i.       Estimate of time for trial (specify number of hours):
      j.       A trial is set for (date)                      (time)
      k.       The adversary proceeding is dismissed for failure to appear or prosecute
                  with prejudice     without prejudice
      l.       Notice of next status conference or pre-trial conference date is waived
      m. X Other (specify): The Deadline to file Summary Judgment Motion is 10/4/2016. The Hearing on
                                                     1
         Summary Judgment is 11/10/2016 at 2:00 p.m. An updated joint status report is not required.


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                   Date: August 15, 2016




1
 A hearing date on the Motion for Summary Judgment was originally reserved for November 8, 2016 at 2:00p.m. However,
due to WKHFRXUW¶VXQDYDLODELOLW\RQ1RYHPEHUDKHDULQJGDWHKDVQRZEHHQUHVHUYHGIRU1RYHPEHUDW
pm.
           This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2014                                                            Page 2                              F 7016-1.2.ORDER.STATUS.CONF
